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 2                                   UNITED STATES DISTRICT COURT
 3                                          DISTRICT OF NEVADA
 4                                                      ***
 5
     UNITED STATES OF AMERICA,
 6

 7
                            Plaintiff,
                                                           2:14-cr-00264-APG-VCF
 8   vs.
                                                           ORDER
 9   TYRAL EDWARD KING,

10                         Defendant.

11           Before the court is Interested Party the Las Vegas Metropolitan Police Department’s Emergency
12   Motion to Quash Subpoena. (#31).
13           The subpoena addressed to the Custodian of Records, Clark County Detention Center does not
14   comply with Federal Rules of Criminal Procedure 17(c)(1), which states that a criminal subpoena may
15   only direct production of records in advance of a trial or hearing if it has been authorized by the court.
16   Here, no order has been entered authorizing this subpoena.
17           To date, no response to this motion has been filed. Pursuant to LCR 12-1(a)(2), responses must
18   be filed and served fourteen days from the date of service of the motion.
19           Accordingly and good cause appearing,
20           IT IS HEREBY ORDERED that the Interested Party the Las Vegas Metropolitan Police
21   Department’s Emergency Motion to Quash Subpoena (#31) is GRANTED.
22           Dated this 18th day of November, 2014.
23

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                                                                  _________________________
                                                                  CAM FERENBACH
25                                                                UNITED STATES MAGISTRATE JUDGE
